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                   EXHIBIT 1
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 14

 15                         UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 16

 17 LOS ANGELES WATERKEEPER, a                   Case No.: 2:23-cv-05387 JAK (ASx)
 18 California non-profit association,
                                                 [PROPOSED] CONSENT DECREE
 19                Plaintiff,
 20
            v.
 21

 22 NALCO COMPANY LLC, a Delaware
      limited liability company,
 23
                   Defendant.
 24

 25

 26

 27

 28

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  1                                  CONSENT DECREE
  2        WHEREAS, Plaintiff Los Angeles Waterkeeper (“LA Waterkeeper” or
  3 “Plaintiff”) is a 501(c)(3) non-profit public benefit corporation organized under the

  4 laws of the State of California, with its main office in Los Angeles, California;

  5        WHEREAS, LA Waterkeeper is dedicated to the preservation, protection and
  6 defense of the surface, ground, coastal and ocean waters of Los Angeles County from

  7 all sources of pollution and degradation;

  8         WHEREAS, Nalco Company LLC (“Nalco” or “Defendant”) owns and
  9 operates a facility at 2111 E. Dominguez Street, Carson, California 90810
 10 (“Facility”).

 11         WHEREAS, the Facility is a specialty chemical manufacturing facility and
 12 industrial activities consist of production of chemicals (demulsifiers, scale/corrosion

 13 inhibitors, and water treatment chemicals), loading and unloading activities,

 14 wastewater treatment, raw and finished material storage, equipment maintenance,

 15 operational equipment movement, and shipping and receiving. The Facility is

 16 categorized under Standard Industrial Classification (“SIC”) Codes 2869 and 2899,

 17 covering certain facilities engaged in industrial organic chemicals and chemical

 18 preparations.

 19         WHEREAS, storm water discharges associated with industrial activity at the
 20 Facility are regulated by the National Pollutant Discharge Elimination System

 21 (“NPDES”) General Permit No. CAS000001 [State Water Resources Control Board],

 22 Water Quality Order 97-03-DWQ, and as amended by Water Quality Orders Nos.

 23 2015-0057-DWQ and 2015-0122-DWQ (“General Permit” or “Permit”), and the

 24 Federal Water Pollution Control Act, 33 U.S.C. § 1251 et seq. (“Clean Water Act” or

 25 “CWA”), Sections 301(a) and 402, 33 U.S.C. §§ 1311(a), 1342;

 26         WHEREAS, Defendant’s operations at the Facility result in discharges of
 27 pollutants into waters of the United States and are regulated by the Clean Water Act

 28 Sections 301(a) and 402. 33 U.S.C. §§ 1311(a), 1342;


                                                1
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  1        WHEREAS, the General Permit requires all permittees, including Defendant,
  2 to comply with, inter alia, the following mandates: (1) develop and implement a

  3 storm water pollution prevention plan (“SWPPP”) and a storm water monitoring

  4 implementation plan (“MIP”), (2) control pollutant discharges using, as applicable,

  5 best available technology economically achievable (“BAT”) or best conventional

  6 pollutant control technology (“BCT”) to prevent or reduce pollutants through the

  7 development and application of Best Management Practices (“BMPs”), which must

  8 be included and timely updated in the SWPPP, (3) reduce and eliminate discharges

  9 necessary to comply with any and all applicable Water Quality Standards (“WQS”),
 10 and (4) implement a monitoring and reporting program designed to assess compliance

 11 with the Permit;

 12        WHEREAS, on January 31, 2023, Plaintiff issued a notice of intent to file suit
 13 (“60-Day Notice”) to Defendant, its registered agent, the Administrator of the United

 14 States Environmental Protection Agency (“EPA”), the Executive Director of the State

 15 Water Resources Control Board (“State Board”), the Executive Officer of the Los

 16 Angeles Regional Water Quality Control Board (“Regional Board”), and the

 17 Regional Administrator of EPA Region IX, alleging violations of the Clean Water

 18 Act and the General Permit Water Quality Order 2014-0057-DWQ, as amended by

 19 Order No. 2015-0122-DWQ and Order 2018-0028-DWQ incorporating: 1) Federal

 20 Sufficiently Sensitive Test Method Ruling; 2) TMDL Implementation Requirements;

 21 and 3) Statewide Compliance Options Incentivizing On-Site or Regional Storm Water

 22 Capture and Use, at the Facility;

 23        WHEREAS, on July 6, 2023, LA Waterkeeper filed a complaint against Nalco
 24 Company LLC in the Central District of California, Civil Case No. 2:23-cv-05387

 25 (“Complaint”);

 26        WHEREAS, Plaintiff’s Complaint alleged violations of the General Permit
 27 and the Clean Water Act for Defendant’s discharges of pollutants into storm drains

 28


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  1 and surface waters, including the Dominguez Channel Estuary (Receiving Water)

  2 which flows to the Los Angeles Harbor;

  3        WHEREAS, Plaintiff and Defendant (collectively “Settling Parties” or
  4 “Parties”) agree that it is in their mutual interest to enter into a Consent Decree

  5 setting forth terms and conditions appropriate to resolving the allegations set forth in

  6 the 60-Day Notice and Complaint without further proceedings;

  7        WHEREAS, all actions taken by the Defendant pursuant to this Consent
  8 Decree shall be made in compliance with all applicable federal, state and local rules

  9 and regulations.
 10        NOW, THEREFORE, IT IS HEREBY STIPULATED BETWEEN THE
 11 SETTLING PARTIES AND ORDERED AND DECREED BY THE COURT AS

 12 FOLLOWS:

 13        1.     The Court has jurisdiction over the subject matter of this action pursuant
 14 to Section 505(a)(1)(A) of the CWA, 33 U.S.C. § 1365(a)(1)(A);

 15        2.     Venue is appropriate in the Central District Court pursuant to Section
 16 505(c)(1) of the CWA, 33 U.S.C. § 1365(c)(1), because the Facility at which the

 17 alleged violations are taking place is located within this District;

 18        3.     The Complaint states a claim upon which relief may be granted against
 19 Defendant pursuant to Section 505 of the CWA, 33 U.S.C. § 1365;

 20        4.     LA Waterkeeper has standing to bring this action;
 21        5.     The Court shall retain jurisdiction over this action for purposes of
 22 interpreting, modifying, or enforcing the terms of this Consent Decree, or as long

 23 thereafter as necessary for the Court to resolve any motion to enforce this Consent

 24 Decree, but only regarding issues raised within the Term of this Consent Decree.

 25    I. OBJECTIVES
 26        6.     It is the express purpose of the Setting Parties through this Consent
 27 Decree to further the objectives of the Clean Water Act, and to resolve all issues

 28 alleged by LA Waterkeeper in its 60-Day Notice and Complaint. These objectives


                                                 3
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  1 include compliance with the provisions of this Consent Decree, compliance with all

  2 terms and conditions of the General Permit, and compliance with all applicable

  3 sections of the CWA.

  4          7.     In light of these objectives and as set forth fully below, Defendant agrees
  5 to comply with the provisions of this Consent Decree, terms and conditions of the

  6 General Permit, and all applicable sections of the CWA at the Facility.

  7    II. AGENCY REVIEW AND CONSENT DECREE TERM
  8               A. AGENCY REVIEW OF CONSENT DECREE
  9          8.    Agency Review. Plaintiff shall submit this Consent Decree to the United
 10 States Department of Justice and the EPA (the “Federal Agencies”), within three (3)

 11 business days of the final signature of the Parties, for agency review consistent with

 12 40 C.F.R. § 135.5. The agency review period (“Agency Review Period”) expires

 13 forty-five (45) calendar days after receipt by the Federal Agencies, as evidenced by

 14 certified return receipts, copies of which shall be provided to Defendant. In the event

 15 that the Federal Agencies object to entry of this Consent Decree, the Parties agree to

 16 meet and confer to attempt to resolve the issue(s) raised by the Federal Agencies. If

 17 the Parties are unable to resolve any issue(s) raised by the Federal Agencies in their

 18 comments, the Parties agree to expeditiously seek a settlement conference with the

 19 assigned Magistrate Judge to resolve any issue(s).

 20          9.    Court Notice. Plaintiff shall notify the Court of the receipt date by the
 21 Federal Agencies, as required by 40 C.F.R. § 135.5, in order coordinate the Court’s

 22 calendar with the 45-day review period.

 23          10. Entry of Consent Decree. Following expiration of the Federal Agencies’
 24 45-day review period, Plaintiff shall submit the Consent Decree to the Court for

 25 entry.

 26               B. DEFINITIONS
 27          11. Unless otherwise expressly defined herein, terms used in this Consent
 28 Decree which are defined in the CWA or in regulations or rules promulgated under


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  1 the CWA have the meaning assigned to them in the statutes or regulations or rules.

  2 Whenever terms listed below are used in this Consent Decree, the following

  3 definitions apply:

  4           a. “BAT” means the Best Available Technology Economically Achievable.
  5           b. “BCT” means the Best Conventional Treatment Technology.
  6           c. “BMPs” means Best Management Practices.
  7           d. “Consent Decree” means this Consent Decree and any attachments or
  8              documents incorporated by reference.
  9           e. “Day” means a calendar day. In computing any period of time under this
 10              Consent Decree, where the last day of such period is a Saturday, Sunday,
 11              or Federal or State Holiday, the period runs until the close of business on
 12              the next day that is not a Saturday, Sunday, or Federal or State Holiday.
 13           f. “Design Storm” means the volume and flow rate of runoff produced
 14              from an 85th percentile, 24-hour storm event as defined in General
 15              Permit Section X.H.6: Design Storm Standards for Treatment Control
 16              BMPs.
 17           g. “Discharge Point” means each outfall and discharge location designated
 18              in the then-current SWPPP for the Facility.
 19           h. “Effective Date” means the effective date of this Consent Decree, which
 20              shall be the date of expiration of the Agency Review Period.
 21           i. “MIP” means a Monitoring Implementation Plan.
 22           j. “PPT” means Pollution Prevention Team.
 23           k. “Qualifying Storm Event” or “QSE” shall have the definition set forth in
 24              the General Permit.
 25           l. “Reporting Year” means the period from July 1 of a given year to June
 26              30 of the following year.
 27           m. “SMARTS” means the California State Water Resources Control
 28              Board’s Stormwater Multiple Application and Report Tracking System.

                                               5
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  1           n. “SWPPP” means a Storm Water Pollution Prevention Plan.
  2           o. “Term” means the period between the Effective Date and the
  3               “Termination Date.”
  4           p. “Termination Date” means the latest of:
  5                  i. June 30 following five (5) years from the Effective Date;
  6                 ii. seven (7) calendar days from the conclusion of any proceeding or
  7                     process to enforce the Consent Decree initiated prior to June 30
  8                     following five (5) years after the Effective Date; or
  9                 iii. seven (7) calendar days from Defendant’s completion of all
 10                     payments and other affirmative duties required by this Consent
 11                     Decree.
 12           q. “Wet Season” means the seven-month period beginning October 1st of
 13               any given year and ending April 30th of the following year.
 14    III. COMMITMENTS OF THE SETTLING PARTIES
 15           A. STORM WATER POLLUTION CONTROL BEST MANAGEMENT PRACTICES
 16        12. Non-Storm Water Discharge Prohibition: Any unauthorized non-storm
 17 water discharge, as defined in the General Permit, shall be a violation of this Consent

 18 Decree.

 19        13. Current and Additional Best Management Practices: In addition to
 20 maintaining the current BMPs described in the Facility’s SWPPP, Defendant shall (1)

 21 develop and implement BMPs identified herein, and (2) develop and implement

 22 additional BMPs necessary to comply with the provisions of this Consent Decree and

 23 the Storm Water Permit, including but not limited to those that achieve BAT/BCT. In

 24 addition, the General Permit Receiving Water Limitations require that discharges

 25 from the Facility “not cause or contribute to an exceedance of any applicable water

 26 quality standards contained in a Statewide Water Quality Control Plan or the

 27 applicable Regional Board’s Basin Plan.” Defendant shall develop and implement

 28 BMPs necessary to comply with the General Permit requirement to achieve


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  1 compliance with BAT/BCT standards, to comply with the applicable water quality

  2 standards as described in the General Permit, and to prevent or reduce contamination

  3 in storm water discharges from the Facility in compliance with this Consent Decree.

  4        14. Rain Gauge/Sensor. Defendant shall install an electronic rain gauge or
  5 sensor at the Facility on or before the Effective Date. The rain gauge/sensor shall be

  6 capable of measuring precipitation down to at least 0.1 inches, and record start/stop

  7 times for all rain events. During the Term, Defendant shall collect rainfall data using

  8 the gauge/sensor for all precipitation events to the nearest 0.1 inch, including

  9 start/stop times. Data from the rain gauge/sensor shall be conclusive of precipitation
 10 quantities and timing for purposes of this Consent Decree. In the event Defendant’s

 11 gauge/sensor malfunctions, the Los Angeles County Department of Public Works

 12 Rain Gauge 1113 (Dominguez Water Company, 33.831667, -118.225278) will be

 13 used to establish precipitation quantities and timing for the purposes of this Consent

 14 Decree.

 15        15. Hydrologic Evaluation: Within thirty (30) days of the Effective Date,
 16 Defendant shall submit a written plan (“Hydrological Evaluation”) to LA

 17 Waterkeeper providing a full assessment of Facility drainage and storm water flow

 18 (including surface/sheet flow) and establishing the volume- and flow-based criteria

 19 for the Design Storm as defined in General Permit Section X.H.6: Design Storm

 20 Standards for Treatment Control BMPs.

 21        16.   LA Waterkeeper shall provide Defendant with a written response
 22 (“Recommendations”) if any, to the Hydrologic Evaluation within fourteen (14)

 23 calendar days of its receipt of the complete Hydrological Evaluation. Defendant shall

 24 incorporate LA Waterkeeper’s Recommendations into the Hydrological Evaluation

 25 or, alternatively, provide a separate written rationale explaining why any of the

 26 Recommendations were not accepted or incorporated, and provide a Final

 27 Hydrological Evaluation to LA Waterkeeper within thirty (30) calendar days of

 28 receipt of any Recommendations.


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   1          17. Required BMP s for the Facility:
   2
                a. Within forty-five (45) days of the Effective Date, Defendant shall also
   3
                   develop and implement the following BMPs at the Facility:
   4
                          i. During the Wet Season, implement a sweeping program using a
   5
                            PM-10 compliant street sweeper on all paved areas at least once
   6
                            per month, and employ hand sweeping in areas a mechanical
   7
                            sweeper cannot access;
   8
                     b.      Annually by September 15th, employ and secure new filter socks
   9
                             around all drain inlets unless an advanced treatment system is
  10
                             installed and operational or the Facility has fulfilled the On-Site
  11
                             Compliance Option as specified in Attachment I of the General
  12
                             Permit;
  13
                     c.      During the Wet Season, as necessary, replace the filtration socks
  14
                             at the drain inlets when degraded or ineffective until the
  15
                             advanced treatment system is installed and operational or the
  16
                             Facility has fulfilled the On-Site Compliance Option as specified
  17
                             in Attachment I of the General Permit; and
  18
                     d.      Institute a formal pre-rain protocol throughout the Wet Season to
  19
                             be implemented prior to forecasted rain events with a greater than
  20
                             50% probability of precipitation above 0.1 inches as forecasted
  21
                             by the National Oceanic and Atmospheric Administration at
  22
                             https://www.weather.gov for “Elftman”. The pre-rain protocol
  23
                             will include inspection of any filter socks deployed at the site and
  24
                             as practicable removal of exposed waste material and relocation
  25
                             of uncontained debris bins and trash cans under cover.
  26
                B. SAMPLING AT THE FACILITY
  27
             18. Defendant shall develop a monitoring program consistent with the
  28
       General Permit. During the Term, Defendant shall collect samples of storm water
                                                    8
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   1 discharge from each Discharge Point. Defendant shall collect storm water samples

   2 from each Discharge Point from at least four (4) Qualifying Storm Events as required

   3 by the Industrial General Permit (i.e., two Qualifying Storm Events during the first

   4 half of the reporting year and two Qualifying Storm Events during the second half of

   5 the reporting year. As required by the General Permit, such sampling shall take place

   6 as soon as possible within the four (4) hour period during regular business hours and

   7 when safe. Any failure to collect samples as required by this Consent Decree,

   8 including as a result of insufficient discharge, shall be documented, including by

   9 taking photographs, and submitted to LA Waterkeeper by email, along with rain
  10 gauge/sensor data for the data when the sample should have been collected but was

  11 not, within ten (10) days of a written request for such records by LA Waterkeeper or

  12 such records being reported in the Defendant’s Annual Report submitted pursuant to

  13 the General Permit, whichever is earlier. In the event Defendant pursues the On-Site

  14 Compliance Option under Attachment I of the General Permit, Defendant shall

  15 comply with the applicable monitoring and reporting requirements.

  16        19. Sampling Parameters: All samples collected pursuant to this Consent
  17 Decree shall be analyzed, at minimum, for the parameters listed in Table 1.

  18        20. Laboratory and Holding Time. Except for pH samples, delivery of all
  19 samples to a California state certified environmental laboratory for analysis within

  20 allowable hold times, pursuant to 40 C.F.R. Part 136. Analysis of pH will be

  21 completed onsite using a calibrated portable instrument for pH in accordance with the

  22 manufacturer’s instructions.

  23        21. Detection Limit: Defendant shall request that the laboratory use analytical
  24 methods adequate to detect the individual contaminants at or below the values

  25 specified in the General Permit and Table 1 below.

  26        22. Reporting: Defendant shall provide complete laboratory results of all
  27 samples collected at the Facility to SMARTS in accordance with the General Permit,

  28


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   1 and shall provide copies to LA Waterkeeper within five (5) days of receiving the

   2 laboratory report with the results.

   3             C. REDUCTION OF POLLUTANTS IN DISCHARGES
   4         23. Table 1 Numeric Limits: Defendant shall develop and implement BMPs
   5 to reduce pollutants in storm water at the Facility to levels below those in Table 1.

   6                                             TABLE 1
   7
                  Analytes                   Values                 Source of Limit
   8       Total Suspended Solids          400 mg/L                Instantaneous NAL
                   (TSS)                   100 mg/L                   Annual NAL
   9
            Oil & Grease (O&G)              25 mg/L                Instantaneous NAL
  10                                        15 mg/L                   Annual NAL
  11
                    Zinc                   0.26 mg/L                  Annual NAL
                   Copper                 0.0332 mg/L                 Annual NAL
  12                pH                       6-9 s.u.              Instantaneous NAL
  13

  14         24. Table 1 Exceedances. Under this Consent Decree, an “Exceedance” of

  15 Table 1 is defined as follows: an exceedance (“Exceedance”) occurs when two (2) or

  16 more analytical results from samples taken for any single parameter within a

  17 reporting year, regardless of the date of the sample or the discharge point, exceeds the

  18 applicable Table 1 Standard.
                                  1


  19         25. Action Plans: As of the Effective Date, and for the remainder of the Term,

  20 if (i) Defendant discharges non-stormwater from a Discharge Point in violation of

  21 paragraph 12, or (ii) storm water samples collected from Qualifying Storm Events

  22 demonstrate an Exceedance of the Table 1 parameters as defined above, or (iii) if

  23 Defendant pursues the On-Site Compliance Option under Attachment I of the General

  24 Permit and the system necessary to fulfill the On-Site Compliance Option is

  25

  26
       1
       As examples: (i) samples from both Sample Point 1 and Sample Point 2 exceeding the 0.26 mg/L
  27
     standard for zinc on December 28, 2023; (ii) samples from Sample Point 1 exceeding the 0.26 mg/L
  28 standard for zinc on December 28, 2023 and on March 15, 2024; or (iii) samples from Sample Point
     1 exceeding the 0.26 mg/L standard for zinc on December 28, 2023, and samples from Sample
     Point 2 exceeding the 0.26 mg/L standard for zinc on March 15, 2024.
                                                   10
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   1 operational, there is a discharge of storm water from a storm event smaller than the

   2 Design Storm, Defendant shall prepare and submit to LA Waterkeeper a plan for

   3 reducing and/or eliminating the discharge of pollutants, the discharge of non-

   4 stormwater, and/or the discharge of storm water from a storm event smaller than the

   5 Design Storm, as applicable (“Action Plan”) for the Facility.

   6
               a. Action Plan Requirements.
   7
                        i.   Each Action Plan submitted based on an Exceedance of the
   8
                             Table 1 shall include at a minimum: (1) the identification of
   9
                             the contaminant(s) discharged in excess of the Table 1 level(s);
  10
                             (2) an assessment of the source of each contaminant
  11
                             exceedance; (3) the identification of additional BMPs that shall
  12
                             be implemented to achieve compliance with the numeric
  13
                             limit(s), as well as the design plans and calculations of these
  14
                             additional BMPs; (4) time schedules for implementation of the
  15
                             proposed BMPs.
  16
                       ii.   Each Action Plan submitted based on the discharge of non-
  17
                             stormwater or the discharge of storm water from a storm event
  18
                             smaller than the Design Storm, as applicable, shall include at a
  19
                             minimum: (1) a description of the discharge, including without
  20
                             limitation, the date and time, location, approximate volume; (2)
  21
                             an assessment of the cause(s) (e.g., failure of structural BMP,
  22
                             staff error); (3) the identification of additional BMPs that shall
  23
                             be implemented to achieve compliance with this Consent
  24
                             Decree, as well as the design plans and calculations of these
  25
                             additional BMPs; and (4) a time schedules for implementation
  26
                             of the proposed BMPs.
  27
               b. The time schedule(s) for implementation shall ensure that all BMPs
  28
                  (with the exception of advanced treatment of storm water consistent with
                                                11
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   1
                   the Design Storm standards from the General Permit (Section X.H.6))
   2
                   are implemented as soon as possible, but in no case later than ninety (90)
   3
                   days following the submission of the Action Plan, unless a later
   4
                   implementation date is mutually agreed upon by the Settling Parties.
   5
                   Defendant shall notify LA Waterkeeper in writing when an Action Plan
   6
                   has been implemented.
   7
                c. Any first Action Plan required under this Consent Decree during the
   8
                   Term as a result of an Exceedance of Table 1, shall require, at a
   9
                   minimum, one of the following BMPs, which shall be installed and
  10
                   begin operating by October 1st of the subsequent Reporting Year unless
  11
                   LA Waterkeeper extends the deadline upon Defendant’s demonstration
  12
                   to LA Waterkeeper’s reasonable satisfaction that the selected BMP
  13
                   cannot reasonably be completed by the deadline:
  14
                          1. Capture and infiltration of storm water to fulfill the On-Site
  15
                             Compliance Option as specified in Attachment I of the General
  16
                             Permit;
  17
                          2. Capture and advanced treatment of storm water, consistent
  18
                             with the Design Storm standards from the General Permit
  19
                             (Section X.H.6);
  20
                          3. Capture, store, and discharge of storm water to the sanitary
  21
                             sewer as necessary to fulfill the On-Site Compliance Option as
  22
                             specified in Attachment I of the General Permit.
  23
                d. Regardless of the chosen BMP required pursuant to a first Action Plan
  24
                   triggered pursuant to paragraphs 25 and 25(c), Defendant agrees to
  25
                   comply with the provisions of this Consent Decree for two Wet Seasons
  26
                   after the applicable system is installed.
  27
             26. Any Action Plan shall be submitted to LA Waterkeeper within thirty (30)
  28
       days of the receipt of the laboratory report demonstrating the Exceedance, the
                                                12
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   1 discharge of non-stormwater, or the discharge of storm water from a storm event

   2 smaller than the Design Storm, as applicable.

   3           a. Proposed BMPs for any Action Plan: In addition to the required BMP
   4              following any first Action Plan as a result of an Exceedance of Table 1,
   5              the following BMPs should generally be evaluated for inclusion in
   6              Action Plans to attain the Table 1 levels in the Facility’s storm water
   7              discharges:
   8                    i. Hydrologic Controls: Installation of additional berms or
   9                       equivalent structural controls necessary to reduce or prevent
  10                       storm water from flowing off site other than through the
  11                       engineered storm water conveyance system or storm water
  12                       retention or treatment facilities.
  13                    ii. Sweeping: The increased/more frequent use of sweepers and
  14                       manual sweeping in otherwise inaccessible areas.
  15                    iii. Treatment Systems: Installing additional components or
  16                       systems, or otherwise improving, the advanced storm water
  17                       treatment system, or making changes to the operation and
  18                       maintenance protocols for such system, to provide more
  19                       effective filtration treatment of storm water prior to discharge.
  20                    iv. Evaluation of Existing BMPs: Replacing, rehabilitating, or
  21                       eliminating existing BMPs, taking into account the age of the
  22                       BMPs involved or employed, the engineering aspect of the
  23                       application of various BMPs, and any adverse environmental
  24                       impact of the BMPs.
  25           b. Action Plan Review: LA Waterkeeper shall have thirty (30) days upon
  26              receipt of Defendant’s Action Plan to provide Defendant with
  27              comments. Within fourteen (14) days of receiving LA Waterkeeper’s
  28              proposed revisions to an Action Plan, Defendant shall consider each of

                                               13
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   1               LA Waterkeeper’s recommended revisions and accept them or justify in
   2               writing why any comment is not incorporated. Action Plan(s) developed
   3               and implemented pursuant to this Consent Decree are an obligation of
   4               this Consent Decree. Any disputes as to the adequacy of an Action Plan
   5               shall be resolved pursuant to the dispute resolution provisions of this
   6               Consent Decree, set out in Section IV below. Disputes regarding the
   7               adequacy of a particular BMP shall not impact the schedule for
   8               implementing any other BMP set forth in the Action Plan.
   9            c. Defendant shall revise the then-current SWPPP to reflect the changes
  10               required by the Action Plan, as set forth in paragraph 31.b.i. below.
  11            d. Action Plan Payments: Defendant shall pay Five Thousand Dollars
  12               ($5,000.00) each time an Action Plan is submitted to LA Waterkeeper.
  13               Payments shall be made to “Los Angeles Waterkeeper” via certified
  14               mail, return receipt requested to Los Angeles Waterkeeper, c/o Barak
  15               Kamelgard, 360 E 2nd Street Suite 250, Los Angeles, CA 90012. Failure
  16               to submit a payment as required under this paragraph will constitute a
  17               breach of the Consent Decree.
  18            D. VISUAL OBSERVATIONS
  19        27. Storm Water Discharge Observations: During the Term, appropriately
  20 trained staff of Defendant shall conduct visual observations during the Facility’s

  21 operating hours during every rain event. Such inspections shall comply with all

  22 requirements of Section XI.A.2 of the General Permit, and any successor thereof.

  23        28. Monthly Visual Observations: During the Term, appropriately trained
  24 staff of Defendant shall conduct monthly non-storm water visual observations of the

  25 Facility. Such inspections shall comply with all requirements of Section XI.A.1 of the

  26 General Permit, and any successor thereof. Such monitoring shall include outfalls,

  27 Discharge Points, outdoor industrial equipment and storage areas, outdoor industrial

  28 activities areas, BMPs, and all other potential sources of industrial pollutants. All


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   1 Discharge Points shall also be inspected for accumulation of dust, sediment, sand,

   2 grit, oily substances, oily sheens upon any standing water, and other materials

   3 associated with operations at the Facility. During the Wet Season, such inspections

   4 shall further include observations of all storm water BMPs that are used only during

   5 the Wet Season at the Facility to ensure that operational BMPs are being

   6 implemented, structural BMPs are in good condition or working order, and that

   7 BMPs have been effective in producing clean conditions at the Facility. Such

   8 inspections shall further include observation as to whether there are any non-storm

   9 water discharges from the Facility.
  10        29. Visual Observations Records: Defendant shall maintain observation
  11 records, including representative photographs, to document compliance with

  12 paragraphs 27 and 28. Such records shall include, but not be limited to, the persons

  13 who completed the inspection, the date of the inspection, and notes sufficient to

  14 describe the completed activity and all observations thereof, including but not limited

  15 to: (i) whether BMPs are in an adequate condition; (ii) whether any repair,

  16 replacement, or operation and maintenance is needed for any BMPs; and (iii) other

  17 conditions that have the potential to lead to pollutant loading in storm water

  18 discharges; and (iv) representative photographs of all the foregoing. Defendant shall

  19 provide LA Waterkeeper with a copy of those records within ten (10) days of receipt

  20 of a written request from LA Waterkeeper for those records.

  21        30. Employee Training Program: Within forty-five (45) days of the Effective
  22 Date, Defendant shall develop and implement an employee training program that

  23 meets the following requirements and ensures (1) that there is a sufficient number of

  24 employees at the Facility designated to achieve compliance with the General Permit

  25 and this Consent Decree (“Designated Employees”), and (2) that these Designated

  26 Employees are properly trained to perform the activities required by the General

  27 Permit and this Consent Decree (“Training Program”):

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   1          a. Training materials should include a Training Manual, including
   2             drawings and diagrams where appropriate, for reference and use by
   3             Defendant’s personnel to ensure effective implementation of BMPs at
   4             the Facility;
   5          b. Language. The training and training materials shall be available and
   6             offered in the language(s) in which Designated Employees are fluent. If
   7             necessary, Defendant shall provide a translator or translators at all
   8             trainings where such translation is likely to improve staff comprehension
   9             of the Training Program and improve compliance with this Consent
  10             Decree and the General Permit;
  11          c. Training shall be provided by a Qualified Industrial Storm Water
  12             Practitioner (“QISP”, as defined in Section IX.A of the 2015 Permit)
  13             familiar with the requirements of this Consent Decree and the General
  14             Permit, and shall be repeated as necessary to ensure that all Designated
  15             Employees are familiar with the requirements of this Consent Decree,
  16             the Permit, and the Facility’s SWPPP. All relevant new staff shall
  17             receive this training before assuming responsibilities for implementing
  18             the SWPPP;
  19          d. Sampling Training: Defendant shall designate an adequate number of
  20             employees necessary to collect storm water samples as required by this
  21             Consent Decree, including training to ensure samples are properly
  22             collected, stored, and submitted to a certified laboratory;
  23          e. Visual Observation Training: Defendant shall provide training on how
  24             and when to properly conduct visual observations to Designated
  25             Employees;
  26          f. Non-Storm Water Discharge Training: Defendant shall train all
  27             Designated Employees at the Facility on the General Permit’s
  28             prohibition of non-storm water discharges, so that Designated

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   1             Employees know what non-storm water discharges are and how to detect
   2             and prevent non-storm water discharges;
   3          g. Employees: All Designated Employees at the Facility shall participate in
   4             the Training Program annually. New Designated Employees shall
   5             participate in the Training Program within thirty (30) days of their hiring
   6             date;
   7          h. Defendant shall maintain training records to document compliance with
   8             this paragraph and shall provide LA Waterkeeper with a copy of these
   9             records within seven (7) days of receipt of a written request;
  10          i. Identification of Storm Water Pollution Prevention Team and Training
  11             Program Updates into SWPPP: Within thirty (30) days of the effective
  12             date, Defendant shall update the SWPPP to identify the positions and
  13             persons responsible for carrying out storm water management,
  14             monitoring, sampling and SWPPP implementation.
  15       31. SWPPP Revisions:
  16          a. Initial SWPPP Revisions: Defendant shall amend the Facility’s SWPPP
  17             to incorporate the requirements in this Consent Decree and comply with
  18             the General Permit and submit the complete, updated SWPPP to LA
  19             Waterkeeper within thirty (30) days of the Effective Date for review and
  20             comment. The updated SWPPP shall contain, at a minimum, the
  21             following elements:
  22                i. A revised pollutant source assessment, including all elements
  23                     required by section X.G of the General Permit as well as
  24                     assessments of the potential for the Facility’s storm water
  25                     discharges to contain pollutants for which the Receiving Waters
  26                     are 303(d) listed and/or have Total Maximum Daily Loads;
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   1                ii. A detailed narrative description of each industrial activity with the
   2                   potential to impact storm water quality occurring at the Facility as
   3                   required by section X.G of the General Permit;
   4               iii. Descriptions of all BMPs in accordance with section X.H.4 of the
   5                   General Permit, including without limitation BMPs required by
   6                   this Consent Decree;
   7               iv. A set of site maps that comply with section X.E of the General
   8                   Permit and provisions of this Consent Decree;
   9                v. A MIP as required by sections XI and X.I of the General Permit;
  10                   and
  11               vi. A Training Program as described above at paragraph 30.
  12          b. Additional SWPPP Revisions:
  13                i. Within thirty (30) days after approval of any Action Plan by LA
  14                   Waterkeeper (or resolution pursuant to Dispute Resolution),
  15                   Defendant shall revise the then-current SWPPP to reflect the
  16                   changes required by the Action Plan and submit a complete copy
  17                   to LA Waterkeeper for review and comment. Regardless of the
  18                   time allocated for LA Waterkeeper review and comment,
  19                   Defendant will upload the SWPPP to SMARTS in a timely
  20                   manner, provided that uploading to SMARTS shall not be a
  21                   justification in as to why a change requested by LA Waterkeeper
  22                   is not incorporated.
  23                ii. Within thirty (30) days after any changes in industrial activities,
  24                   sources of industrial pollutants, changes to Discharge Points, or
  25                   changes to sections of the SWPPP identified in the SWPPP as
  26                   requiring a SWPPP revision (including but not limited to, changes
  27                   in Facility contacts or PPT members, changes or additions of
  28                   BMPs, or changes in or additions of industrial activities that

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   1                      impact storm water discharge), Defendant shall revise the then-
   2                      current SWPPP to reflect such changes and submit a complete
   3                      copy to LA Waterkeeper for review and comment. Regardless of
   4                      the time allocated for LA Waterkeeper review and comment,
   5                      Defendant will upload the SWPPP to SMARTS in a timely
   6                      manner, provided that uploading to SMARTS shall not be a
   7                      justification in as to why a change requested by LA Waterkeeper
   8                      is not incorporated.
   9            c. Review of SWPPP: For any SWPPP updates pursuant to paragraphs
  10               31(a) and 31(b), LA Waterkeeper shall have thirty (30) days upon
  11               receipt of Defendant’s SWPPP to provide Defendant with comments.
  12               Within thirty (30) days of receiving LA Waterkeeper’s comments and
  13               proposed changes to the SWPPP, Defendant shall consider each of the
  14               comments and proposed changes and either accept them or justify in
  15               writing why a change is not incorporated. The Parties agree to work in
  16               good faith to resolve any disputes with respect to the SWPPP, and any
  17               remaining disputes will be resolved through timely initiation of the
  18               dispute resolution procedures in Section IV below. Following
  19               incorporation of any proposed modification or additions into each
  20               revised SWPPP, Defendant shall upload the SWPPP to SMARTS.
  21            E. COMPLIANCE MONITORING AND REPORTING
  22        32. Every year during the Term, LA Waterkeeper may conduct one annual
  23 site inspection (“Site Inspection”) for the purpose of ensuring compliance with this

  24 Consent Decree and the General Permit. In the event of a dispute regarding

  25 Defendant’s compliance with this Consent Decree, and provided a Site Inspection

  26 would be relevant to resolving the Parties’ dispute, the Parties agree to meet and

  27 confer regarding one additional Site Inspection at Plaintiff’s request. Plaintiff shall

  28 not unreasonably request, and Defendant shall not unreasonably deny, one additional


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   1 Site Inspection per year. Any Site Inspection shall occur during normal business

   2 hours, and LA Waterkeeper will provide Defendant with at least twenty-four (24)

   3 hours’ notice prior to a Site Inspection. For any Site Inspection requested to occur in

   4 wet weather, Plaintiff shall be entitled to adjust timing or reschedule during normal

   5 business hours in the event the forecast changes and anticipated precipitation appears

   6 unlikely, and thus frustrates the purpose of visiting the Facility in wet weather. Notice

   7 will be provided by electronic mail to the individual(s) designated below at paragraph

   8 61. During the Wet Weather inspection, Plaintiff may request that Defendant collect a

   9 sample of industrial storm water discharge from the Facility’s designated industrial
  10 discharge point(s) referenced in its SWPPP, to the extent that such discharges are

  11 occurring. Defendant shall collect the sample and provide a split sample to LA

  12 Waterkeeper. LA Waterkeeper’s representative(s) may observe the split sample(s)

  13 being collected by Defendant’s representative. LA Waterkeeper shall be permitted to

  14 take photographs or video recording during any Site Inspection. LA Waterkeeper

  15 agrees to provide forty-eight (48) hours’ notice to Defendant in advance so that

  16 appropriate arrangements can be made with the water sampling laboratory.

  17        33. Document Provision. During the Term, Defendant shall notify and submit
  18 documents to LA Waterkeeper as follows:

  19          a.   Defendant shall copy LA Waterkeeper on all compliance documents,
  20               monitoring and/or sampling data, written communications and/or
  21               correspondences, or any documents related to storm water quality at the
  22               Facility that are submitted to the Regional Board, the State Board, and/or
  23               any state or local agency, county or municipality;
  24          b.   Any compliance document, inspection report, written communication
  25               and/or correspondence, or any document related to storm water quality at
  26               the Facility received by Defendant from the Regional Board, the State
  27               Board, and/or any state or local agency, county, municipality shall be
  28               sent to LA Waterkeeper within ten (10) business days of receipt by

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   1               Defendant. Defendant shall mail paper copies or email electronic copies
   2               of documents to LA Waterkeeper at the relevant notice address
   3               contained below.
   4        34. Compliance Monitoring. Defendant agrees to partially defray costs
   5 associated with Plaintiff’s monitoring of Defendant’s compliance with this Consent

   6 Decree during the Term by paying Six Thousand Dollars ($6,000.00) for the first year

   7 of the Term and Four Thousand Dollars ($4,000.00) per year for the remainder of the

   8 Term. In the event that there is an additional site inspection in a given year to resolve

   9 a dispute pursuant to Section IV of this Consent Decree, in which case Defendant
  10 shall reimburse LA Waterkeeper an additional Three Thousand Dollars ($3,000)

  11 during such year (an “Additional Site Inspection Payment”). The initial Compliance

  12 Monitoring payment shall be made within thirty (30) days of the Effective Date, and

  13 each subsequent annual Compliance Monitoring payment shall be made on the

  14 applicable anniversary of the Effective Date. Any Additional Site Inspection

  15 Payments shall be made within thirty (30) days after any additional site inspection, as

  16 applicable. The payment shall be made via check, made payable to: “Los Angeles

  17 Waterkeeper” via certified mail, return receipt requested to Los Angeles

  18 Waterkeeper, c/o Barak Kamelgard, 360 E 2nd Street Suite 250, Los Angeles, CA

  19 90012.

  20        35. Failure to submit payment as required under this paragraph will constitute
  21 breach of the Consent Decree.

  22            F. ENVIRONMENTAL MITIGATION, LITIGATION FEES AND COSTS,
  23               STIPULATED PENALTIES, AND INTEREST

  24        36. Environmental Mitigation Project: To fund environmental project
  25 activities that will reduce or mitigate the impacts of storm water pollution from

  26 industrial activities occurring in watersheds tributary to the Southern California

  27 Bight, Defendant agrees to make a payment totaling Sixty Thousand Dollars

  28 ($60,000) to the Rose Foundation made within thirty (30) days of the Effective date,


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   1 payable to the Rose Foundation for Communities and the Environment and sent via

   2 overnight mail to Rose Foundation, 201 4th St APT 102, Oakland, CA 94607.

   3        37. LA Waterkeeper’s Fees and Costs: Defendant agrees to pay a total of
   4 Eighty Thousand Dollars ($80,000.00) to LA Waterkeeper to partially reimburse

   5 Plaintiff for their investigation fees and costs, expert/consultant fees and costs,

   6 reasonable attorneys’ fees, and other costs incurred as a result of investigating and

   7 filing the lawsuit, and negotiating a resolution of this matter within thirty (30) days of

   8 the Effective Date. The payment shall be made payable to: Aqua Terra Aeris Law

   9 Group and delivered by overnight carrier to Aqua Terra Aeris Law Group, 4030
  10 Martin Luther King Jr. Way, Oakland, CA 94609.

  11        38.    In the event that Defendant fails to submit to LA Waterkeeper any
  12 payment or document, report or other communication required by this Consent

  13 Decree, Defendant shall pay a stipulated payment of One Hundred Dollars ($100) per

  14 week. Such stipulated payments shall be made by check payable to: Rose Foundation

  15 for Communities and the Environment, and such funds shall be used for the sole

  16 purpose of funding environmentally beneficial projects, as described in paragraph 36.

  17 Payment shall be via overnight mail to Rose Foundation, 201 4th St., APT 102,

  18 Oakland, CA 94607. Defendant agrees to make the stipulated payment within thirty

  19 (30) days after the resolution of the event that precipitated the stipulated payment

  20 liability.

  21        39. Interest on Late Payments: Defendant shall pay interest on any payments,
  22 fees, or costs owed pursuant to this Consent Decree that are not received by the due

  23 date. The interest shall accrue starting the next business day after the payment is due

  24 and shall be computed at a rate equal to the lower of: (i) 10% per year (0.833% per

  25 month); or (ii) the maximum rate permitted by applicable law. Interest shall continue

  26 to accrue daily on any outstanding balance until Defendant is current on all payments

  27 then due under this Consent Decree. Interest on late payments shall be made by check

  28 payable to: Rose Foundation for Communities and the Environment, and such funds


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   1 shall be used for the sole purpose of funding environmentally beneficial projects, as

   2 described in paragraph 36. Payment shall be via overnight mail to Rose Foundation,

   3 201 4th St., APT 102, Oakland, CA 94607.

   4    IV. DISPUTE RESOLUTION
   5        40. This Court shall retain jurisdiction over this matter for the Term for the
   6 purposes of enforcing its terms and conditions, and adjudicating all disputes among

   7 the Parties that may arise under the provisions of this Consent Decree. The Court

   8 shall have the power to enforce this Consent Decree with all available legal and

   9 equitable remedies, including contempt.
  10        41. Meet and Confer. Either party to this Consent Decree may invoke the
  11 dispute resolution procedures of this Section IV by notifying the other party in

  12 writing of the matter(s) in dispute and of the disputing party’s proposal for resolution.

  13 The Parties shall then meet and confer in good faith (either telephonically or in

  14 person) within ten (10) days of the date of the notice in an attempt to fully resolve the

  15 dispute no later than thirty (30) calendar days from the date of the notice.

  16        42. Settlement Conference. If the Parties cannot resolve the dispute within
  17 thirty (30) days of the meet and confer described in paragraph 41, the Parties agree

  18 that the dispute may be submitted for formal resolution by filing a motion before the

  19 United States District Court for the Central District of California. The Parties agree to

  20 request an expedited hearing schedule on the motion.

  21        43. In resolving any dispute arising from this Consent Decree before the
  22 Court, the prevailing Party shall be entitled to seek fees and costs incurred pursuant to

  23 the provisions set forth in Section 505(d) of the Clean Water Act, 33 U.S.C. §

  24 1365(d), and applicable case law interpreting such provisions, or as otherwise

  25 provided for by statute and/or case law.

  26    V. MUTUAL RELEASE OF LIABILITY AND COVENANT NOT TO SUE
  27        44. Plaintiff’s Waiver and Release of Defendant. In consideration of the
  28 above, upon the Effective Date of this Consent Decree, Plaintiff, on its own behalf


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   1 and on behalf of its officers and directors, release Defendant, its officers, directors,

   2 managers, employees, members, parents, subsidiaries, divisions, affiliates, successors

   3 or assigns, agents, attorneys and other representatives, from and waives all claims

   4 that were raised in the 60-Day Notice and/or the Complaint up to and including the

   5 Effective Date of this Consent Decree.

   6        45. Defendant’s Waiver and Release of Plaintiff. In consideration of the
   7 above, upon the Effective Date of this Consent Decree, Defendant, on its own behalf

   8 and on behalf of its officers, directors, employees, parents, subsidiaries, affiliates and

   9 each of their successors or assigns, release Plaintiff, its officers and directors, from
  10 and waives all claims related to the 60-Day Notice and/or the Complaint up to and

  11 including the Termination Date of this Consent Decree.

  12        46. Nothing in this Consent Decree limits or otherwise affects Plaintiff’s
  13 rights to address or take any position that it deems necessary or appropriate in an

  14 informal or formal proceeding before the State Board, Regional Board, EPA, or any

  15 other judicial or administrative body on any matter relating to Defendant’s

  16 compliance at the Facility with the Stormwater Permit or the Clean Water Act

  17 occurring or arising after the Effective Date.

  18    VI. MISCELLANEOUS PROVISIONS
  19        47. No Admission of Liability. The Parties enter into this Consent Decree for
  20 the purpose of avoiding prolonged and costly litigation. Neither the Consent Decree

  21 nor any payment pursuant to the Consent Decree shall constitute or be construed as a

  22 finding, adjudication, or acknowledgement of any fact, law or liability, nor shall it be

  23 construed as an admission of violation of any law, rule, or regulation. The Defendant

  24 maintains and reserves all defenses it may have to any alleged violations that may be

  25 raised in the future.

  26        48. Counterparts. This Consent Decree may be executed in any number of
  27 counterparts, all of which together shall constitute one original document. Telecopy

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   1 and/or facsimile copies of original signature shall be deemed to be originally

   2 executed counterparts of this Consent Decree.

   3        49. Authority. The undersigned representatives for Plaintiff and Defendant
   4 each certify that they are fully authorized by the party whom they represent to enter

   5 into this Consent Decree. A Party’s signature to this Consent Decree transmitted by

   6 facsimile or electronic mail shall be deemed binding.

   7        50. Construction. The language in all parts of this Consent Decree shall be
   8 construed according to its plain and ordinary meaning, except as to those terms

   9 defined in the Permit, the Clean Water Act, or specifically herein. The captions and
  10 paragraph headings used in this Consent Decree are for reference only and shall not

  11 affect the construction of this Consent Decree.

  12        51. Full Settlement. This Consent Decree constitutes a full and final
  13 settlement of this matter.

  14        52. Integration Clause. This is an integrated Consent Decree. This Consent
  15 Decree is intended to be a full and complete statement of the terms of the agreement

  16 between the Parties and expressly supersedes any and all prior oral or written

  17 agreements, covenants, representations, and warranties (express or implied)

  18 concerning the subject matter of this Consent Decree.

  19        53. Severability. In the event that any provision, paragraph, section, or
  20 sentence of this Consent Decree is held by a court to be unenforceable, the validity of

  21 the enforceable provisions shall not be adversely affected.

  22        54. Choice of Law. The laws of the United States shall govern this Consent
  23 Decree.

  24        55. Diligence: Defendant shall diligently file and pursue all required permit
  25 applications for the structural BMPs and shall diligently procure contractors, labor,

  26 and materials needed to complete all BMPs by the required deadlines.

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   1        56.    Effect of Consent Decree: Compliance with this Consent Decree does
   2 not mean that Defendant is complying with the General Permit, the Clean Water Act,

   3 or any other law, rule, or regulation.

   4        57. Negotiated Settlement. The Settling Parties have negotiated this Consent
   5 Decree, and agree that it shall not be construed against the party preparing it, but shall

   6 be construed as if the Settling Parties jointly prepared this Consent Decree, and any

   7 uncertainty and ambiguity shall not be interpreted against any one party.

   8        58. Modification of the Consent Decree. This Consent Decree, and any
   9 provisions herein, may not be changed, waived, discharged, or terminated unless by a
  10 written instrument, signed by the Parties and approved by the Court. Any request to

  11 modify any provision of the Consent Decree, including but not limited to any

  12 deadline(s) set forth herein, must be made in writing at least fourteen (14) days before

  13 the existing deadline(s) applicable to the provision(s) proposed to be modified.

  14        59. Assignment. Subject only to the express restrictions contained in this
  15 Consent Decree, all of the rights, duties and obligations contained in this Consent

  16 Decree shall inure to the benefit of and be binding upon the Parties, and their

  17 successors and assigns. Defendant shall notify Plaintiff within ten (10) days of any

  18 assignment.

  19        60. Force Majeure. Neither of the Parties shall be considered to be in default
  20 in the performance of any of their respective obligations under this Consent Decree

  21 when performance becomes impossible due to a Force Majeure event. A Force

  22 Majeure event is any circumstance beyond a Settling Party’s control, including

  23 without limitation, any act of God, war, fire, earthquake, flood, windstorm, pandemic,

  24 public health crisis, or natural catastrophe; criminal acts; civil disturbance, vandalism,

  25 sabotage, or terrorism; restraint by court order or public authority or agency; or action

  26 or non-action by, or inability to obtain the necessary authorizations or approvals from

  27 any governmental agency. A Force Majeure event shall not include normal inclement

  28 weather, economic hardship, inability to pay, or employee negligence. Any party


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   1 seeking to rely upon this paragraph to excuse or postpone performance shall have the

   2 burden of establishing that it could not reasonably have been expected to avoid the

   3 Force Majeure event and which by exercise of due diligence has been unable to

   4 overcome the failure of performance. The Parties shall exercise due diligence to

   5 resolve and remove any Force Majeure event.

   6        61. Correspondence. All notices required herein or any other correspondence
   7 pertaining to this Consent Decree shall be, the extent feasible, sent via electronic mail

   8 transmission to the e-mail address listed below, or if electronic mail is not feasible,

   9 then by certified U.S. mail with return receipt, or by hand delivery to the following
  10 addresses:

  11
       If to Plaintiff:                         If to Defendant:
  12   Anthony M. Barnes                        Katherine A. Roek
  13   Aqua Terra Aeris Law Group LLP           Associate General Counsel
       4030 Martin Luther King Jr. Way          Environmental & Regulatory
  14
       Oakland, CA 94609                        ECOLAB
  15   amb@atalawgroup.com                      1 Ecolab Place, EGH/14, ST. PAUL,
                                                MN 55102
  16
                                                Katie.Roek@ecolab.com
  17
                                                Tracy J. Egoscue
  18                                            Egoscue Law Group, Inc.
  19                                            3834 Pine Ave
                                                Long Beach, CA 90807
  20                                            tracy@egoscuelaw.com
  21
       With copies to:                          With copies to:
  22   Los Angeles Waterkeeper                  Chris Puza
  23   Barak Kamelgard                          Plant Manager
       Benjamin Harris                          Nalco an Ecolab Company
  24   360 E 2nd St Suite 250                   2111 E Dominguez St, Carson CA
  25   Los Angeles, CA 90012                    90810
       barak@lawaterkeeper.org                  christopher.puza@ecolab.com
  26   ben@lawaterkeeper.org
  27   Phone: (310) 394-6162
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   5 APPROVED AS TO FORM

   6
                                               AQUA TERRA AERIS LAW GROUP
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   9 Dated: July 6, 2023                       By:
  10                                                 Anthony M. Barnes
                                                     Attorney for Plaintiff
  11                                                 Los Angeles Waterkeeper
  12

  13                                            NALCO COMPANY LLC
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  15
       Dated: ______________,
                 July 6       2023             By:
  16                                                 Katherine A. Roek
  17                                                 Associate General Counsel
                                                     Environmental & Regulatory
  18                                                 Attorney for Defendant
  19                                                 Nalco Company LLC
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  23                                           EGOSCUE LAW GROUP, INC.
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  25 Dated: ___July 6______, 2023              By:
  26                                                 Tracy J. Egoscue
                                                     Attorney for Defendant
  27                                                 Nalco Company LLC
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                                 [PROPOSED] CONSENT DECREE
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       IT IS SO ORDERED.
       FINAL JUDGMENT
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   5      Upon approval and entry of this Consent Decree by the Court, this Consent
   6 Decree shall constitute a final judgment between the Plaintiff and Defendant.

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   9 Dated: ____________________            CENTRAL DISTRICT OF CALIFORNIA
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  12                                        ___________________________________
                                            HONORABLE JOHN A. KRONSTADT
  13                                        United States District Court Judge
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                                   [PROPOSED] CONSENT DECREE
